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 6
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 7 United States of America

 8

 9                               IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                          CASE NOS. 1:17-CR-198-LJO
12
                                  Plaintiff,
13
                            v.                          STIPULATION FOR EXTENSION OF TIME TO
14                                                      RESPOND TO MOTION; GOOD CAUSE
     ILDELFONSO SOTO,
15                                                      DATE: February 4, 2018
                                                        TIME: 8:30 a.m.
16                               Defendant              COURT: Hon. Lawrence J. O'Neill
17

18                                             STIPULATION
19            1.    Defendant Ildelfonso Soto filed a motion to suppress on November 1, 2018 (ECF #278).
20            2.    The government’s original deadline to file oppositions to any motions in this case was
21 December 3, 2018. On November 30, 2018, upon a stipulated request of the parties and finding good

22 cause, the Court granted the government an extension of time through December 24, 2018, to file an

23 opposition to Defendant’s motion to suppress, given the active ongoing plea negotiations between the

24 parties.

25            3.    The government requests, and Defendant does not oppose, that given the continuing and
26 active plea negotiations between the parties concerning Defendant’s case, that there is good cause to
27 continue the government’s deadline to respond to Defendant’s motion until after the expiration of the

28 plea deadline.

      STIPULATION REGARDING EXCLUDABLE TIME             1
30    PERIODS UNDER SPEEDY TRIAL ACT
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 1          4.     The government extended a plea offer to Defendant Soto which was set to expire

 2 December 2, 2018. Given defense counsel’s request, the government extended the plea offer deadline to

 3 December 12, 2018. The government and defense counsel met at the U.S. Attorney’s Office on Friday

 4 December 14, 2018 to further discuss the plea. The government extended to plea deadline until

 5 December 26, 2018.

 6          5.     In light of the foregoing, the government is requesting that the government’s current

 7 deadline to respond to motion filed by Defendant (ECF #278) be continued from December 24, 2018 to

 8 January 11, 2019.

 9          IT IS SO STIPULATED.

10
      Dated: December 18, 2018                              MCGREGOR W. SCOTT
11                                                          United States Attorney
12
                                                            /s/ JEFFREY A. SPIVAK
13                                                          JEFFREY A. SPIVAK
                                                            Assistant United States Attorney
14

15
      Dated: December 18, 2018                              /s/ Michael Mitchell
16                                                          Michael Mitchell
                                                            Counsel for Defendant
17                                                          Ildelfonso Soto
                                                            (approved by email 12/18/2018)
18

19

20
                                          FINDINGS AND ORDER
21
            Finding Good Cause, the government’s deadline to respond to the motion filed by Defendant
22
     Soto at ECF #278 is continued to January 11, 2019. So found.
23

24 IT IS SO ORDERED.

25
        Dated:    December 19, 2018                         /s/ Lawrence J. O’Neill _____
26                                               UNITED STATES CHIEF DISTRICT JUDGE
27

28

      STIPULATION REGARDING EXCLUDABLE TIME             2
30    PERIODS UNDER SPEEDY TRIAL ACT
